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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


CHRISTINA ALEXANDER, et al,

             Plaintiffs,
                                                 Case No.: 3:11-cv-1703-MPS
      v.

ALEX M. AZAR II, Secretary of Health and
Human Services,

             Defendant.


              PLAINTIFFS’ LOCAL RULE 56(a)2 STATEMENT
    IN RESPONSE TO DEFENDANT’S SUPPLEMENTAL 56(a)1 STATEMENT IN
        SUPPORT OF HIS SECOND MOTION FOR SUMMARY JUDGMENT




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                         TABLE OF ABBREVIATIONS

“2018 56(a)2”                          Plaintiffs’ Local Rule 56(a)2 Statement in
                                       Opposition to Defendant’s Second Motion for
                                       Summary Judgment, filed Sept. 13, 2018 (ECF
                                       No. 331-1)
“Def. 56(a)1”                          Supplemental Local Rule 56(a)(1) Statement of
                                       Undisputed Material Facts, filed Jan. 30, 2019
                                       (ECF No. 369-1)


“Pls. Mem.”                            Plaintiffs’ Memorandum in Opposition to
                                       Defendant’s Supplemental Brief in Support of
                                       His Second Motion for Summary Judgment
                                       (filed with this Statement)




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    SOF 1. Chapter 1, § 10 of the current Medicare Benefit Policy Manual sets forth the Centers

for Medicare & Medicaid Services’ (“CMS’s”) interpretive guidance regarding Medicare Part A

payment requirements for inpatient hospital stays and regarding related inpatient admission

decisions. Medicare Benefit Policy Manual, Ch. 1, § 10 (Ex. 1).

    Response: Admitted.

    SOF 2. Plaintiff Dorothy Goodman was hospitalized from January 31 to February 3, 2014.

ECF Nos. 166-49, 164-54, 164-55.

    Response: Admitted.

    SOF 3. For the period from October 1, 2013, to present, Plaintiffs have adduced no evidence

that the Department of Health and Human Services (“HHS”) has directed hospitals to admit as

inpatients all Medicare beneficiaries who meet or pass a commercial screening tool’s criteria for

inpatient admission.

    Response: Objection. The statement is not material to the decision of the motion. See Pls.

Mem. at 3-4 for why it is not necessary to show that from October 1, 2013 onward, HHS “has

directed hospitals to admit as inpatients all Medicare beneficiaries who meet or pass a

commercial screening tool’s criteria for inpatient admission.” To the extent that the statement is

material, it is denied as misleading and incomplete because Plaintiffs have adduced evidence that

HHS, acting through CMS, has authorized screening tools to be used for the medical necessity

component of the Two-Midnight Rule, and that CMS contractors and hospitals do so. See ¶¶ 19-

22, infra.

    SOF 4. For the period from October 1, 2013, to present, Plaintiffs have adduced no evidence

that HHS has suggested that hospitals should admit as inpatients all Medicare beneficiaries who

meet or pass a commercial screening tool’s criteria for inpatient admission.
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   Response: Objection. The statement is not material to the decision of the motion. See Pls.

Mem. at 3-4 for why it is not necessary to show that from October 1, 2013 onward, HHS “has

suggested that hospitals should admit as inpatients all Medicare beneficiaries who meet or pass a

commercial screening tool’s criteria for inpatient admission.” To the extent that the statement is

material, Plaintiffs repeat and incorporate by reference Response No. 3.

   SOF 5. Plaintiffs have adduced no evidence that any hospitals currently admit Medicare

beneficiaries as inpatients through rote application of commercial screening tools.

   Response: Objection. The statement is not material to the decision of the motion. See Pls.

Mem. at 3-4 for why it is not necessary to show that hospitals currently admit beneficiaries

through “rote application of commercial screening tools.” To the extent that the statement is

material, it is denied as misleading and incomplete because Plaintiffs have adduced evidence that

hospitals currently apply commercial screening tools to determine the medical necessity

component of hospitalizations under the Two-Midnight Rule. See ¶ 22, infra. Further, Plaintiffs

have adduced evidence that hospitals admit Medicare beneficiaries as inpatients if, inter alia, the

medical necessity component is satisfied. See id.

   SOF 6. Plaintiffs to date have adduced no evidence indicating what any commercial

screening tool’s criteria for inpatient admission are (or were).

   Response: The statement is equivalent to ¶ 33 in the Secretary’s 2018 56(a)1 statement and

plaintiffs hereby incorporate by reference their objection and denial to that statement in response.

See 2018 56(a)2, Response to ¶ 33.

   SOF 7. As explained by the Rule 30(b)(6) deponent for Mercy Hospital, both InterQual and

MCG, which is the successor to Milliman, “have subsets that are based on clinical conditions” or

“the affected body system.” Dep. of Wanda Wilson (Ex. 2) 91:8-11, 154:18-23. In utilizing the




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commercial screening tool, hospital personnel “select the most appropriate subset” based on the

patient’s “primary condition” or “the working diagnosis,” which are “typically . . . evident in the

attending physician’s history and physical.” Id. 91:1-15. At Mercy Hospital, this process entails

the utilization management nurse’s taking information from the medical record based on the

doctor’s assessment of a particular patient. Id. 155:11-20.

   Response: Admit.

   SOF 8. Mercy Hospital’s current procedures take into account situations that “MCG does

not fully cover.” Id. 170:15-171:2. “MCG does not fully cover” refers to the fact that the tool

does not always “cover procedures in the way that [the hospital] would find ideal.” Id. 170:15-

23. In other words, the hospital’s review process takes into account cases in which “the way

procedures are even addressed within [the MCG] guideline is different than how [the hospital]

would use it in [its] processes.” Id. 170:23-171:2.

   Response: Admitted that the deponent made the quoted statements. Denied to the extent that

the statement is incomplete and vague, including because it is unclear what “Mercy Hospital’s

current procedures” refers to, how those procedures “take into account” situations or cases MCG

does not cover, as well as what it means for MCG to “cover” or “address” a “procedure.” The

statement is also incomplete and vague in that it omits that the deponent was discussing a

particular “workflow” sheet titled “All Post Procedures,” specifically addressing cases that

involve medical “procedures,” such as surgeries, while other workflow sheets addressed “non-

procedure” admissions (i.e., for medical services that are not surgeries or other “procedures”).

See Ex. 46 to 2018 56(a)2 at 8-10; Mercy Hospital Dep. (“Mercy Dep.”) at 80:13-81:4 (Pls. Ex.

1). See ¶ 22, infra, for additional evidence on the use of screening tools in Mercy Hospital’s

utilization review processes.




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   SOF 9. The Recovery Audit Contractor (“RAC”) audits that the Court addressed in its earlier

summary judgment ruling were suspended in 2013. Decl. of Daniel Duvall – RACs, ECF No.

160-11, ¶ 6. Specifically, after the publication of the Medicare Hospital Inpatient Prospective

Payment System (IPPS) Final Rule for FY 2014, CMS prohibited the RACs from performing

inpatient hospital patient status reviews on claims for dates of admission from October 1, 2013,

through September 30, 2015. Second Decl. of Jeneen Iwugo, dated January 29, 2019 (Ex. 3) ¶ 8.

This prohibition was later extended to dates of admission through December 31, 2015. Id.

   Response: Admit.

   SOF 10. Currently, CMS monitors the appropriateness of Part A claims for short inpatient

stays through what are known informally as “short stay reviews.” Id. ¶¶ 3-5. In these reviews,

contractors called Beneficiary & Family Centered Care Quality Improvement Organizations

(“QIOs”) review a sample of claims for short inpatient stays to ensure that providers are

appropriately billing the claims under Medicare Part A. Id. ¶ 4. QIOs’ performance of short stay

reviews is governed by CMS guidance entitled “Reviewing Short Stay Hospital Claims for Patient

Status: Admissions On or After January 1, 2016.” Id. ¶ 6.

   Response: Admitted that currently CMS conducts “short stay” reviews of Part A hospital

claims. The first two sentences are denied as misleading and incomplete as CMS does not simply

“monitor the appropriateness of Part A claims” in short stay reviews, but specifies those

instances in which payment under Part A should be deemed appropriate and will be paid, and

denies payment for inpatient claims found to be non-compliant with the Two-Midnight Rule. See

generally Ex. 1 to 2018 56(a)2 (CMS’s guidance for short-stay reviews); see also Ex. 31 to 2018

56(a)2 at 002630-002632 (example of QIO letter denying inpatient claims). The third sentence is

admitted.




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    SOF 11. Since January 2016, RACs have been authorized to conduct patient status reviews

only for those providers that have been referred by a QIO for exhibiting persistent

noncompliance with Medicare payment policies. Id. ¶ 8. To date, there have been no such

referrals. Id. ¶ 9.

    Response: The first sentence is admitted. The second sentence is neither admitted nor denied

for lack of ability to verify.




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           PLAINTIFFS’ STATEMENT OF ADDITIONAL MATERIAL FACTS

     12. Medicare beneficiaries who have met the requirements for entitlement to Hospital

Insurance (Part A) are entitled to have payment made on their behalf for coverage of inpatient

hospital services. 42 U.S.C. § 426(a)-(b) (every individual meeting requirements for Social

Security retirement or disability benefits “shall be entitled to hospital insurance benefits under

Part A”); § 1395d(a) (benefits provided under Part A “shall consist of entitlement to have

payment made . . . for . . . inpatient hospital services . . . .); Medicare Benefit Policy Manual Ch.

1 § 10 (“Patients covered under hospital insurance are entitled to have payment made on their

behalf for inpatient hospital services.”) (Ex. 1 to Def. 56(a)1).

     13. As hospitals’ use of observation status increased with the implementation of the

Recovery Audit Contractor (RAC) program, CMS expressed concern about negative

ramifications for beneficiaries, including for observation stays lasting longer than 48 hours. 2013

HHS Office of Inspector General (OIG) Report at 1-3 (Ex. 78 to 2018 56(a)2); 72 Fed. Reg.

66579, 66814 (Nov. 27, 2007); 77 Fed. Reg. 45061, 45156 (Jul. 30, 2012); 78 Fed. Reg. 27486,

27644 (May 10, 2013). CMS invited public comments over whether it would be helpful to

“establish more specific criteria for patient status,” recognizing that at the time it did not “specify

a limit on the time a beneficiary may be an outpatient receiving observation services . . . .” 77

Fed. Reg. at 45157. See also HHS Dep. (M. Hartstein) at 19:16-23 (Pls. Ex. 2); Mercy Dep. at

34:10-22 (Pls. Ex. 1) (Two-Midnight Rule “changed the definition of inpatient” by “provid[ing]

a definition of time into the consideration of inpatient status.”).

     14. The Two-Midnight Rule contains a “benchmark,” defined as a reasonable expectation

that a patient requires hospital care for at least two midnights. 78 Fed. Reg. 50496, 50947 (Aug.

19, 2013). CMS has stated that physicians “should admit the patient as an inpatient” when the




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length of stay for medically necessary hospital care is expected to surpass two midnights.” Id.;

see also HHS Dep. (D. Duvall) at 106:22-107:3, 109:24-110:1 (Pls. Ex. 3). The Rule also

contains a “presumption,” under which inpatient admissions spanning at least two midnights are

presumed appropriate and will generally not be subject to medical review by CMS absent

evidence of systematic gaming, abuse, or delays of care to qualify for the presumption. 78 Fed.

Reg. at 27645; 78 Fed. Reg. at 50950.

     15. With regard to the Two-Midnight Rule, CMS explained that the “complex medical

decision” aspect of an admission decision is whether to keep the patient at the hospital for

treatment or discharge home, and “[i]f the resultant length of stay for medically necessary

hospitalization is expected to surpass 2 midnights, the physician should admit the patient as an

inpatient.” 78 Fed. Reg. at 50947. In other words, doctors make a “medical decision . . . to keep

the beneficiary at the hospital in order to receive services . . . or discharge the beneficiary home,”

but it is the two-midnight benchmark that governs “when beneficiaries determined to need such

continuing treatment are generally appropriate for inpatient admission or outpatient care in the

hospital.” Id. at 50945.

     16. Plaintiffs’ expert witness Ann Sheehy, M.D., stated that after assessing a patient’s

clinical status, she determines whether the patient needs to stay for two or more midnights of

care to determine patient status for Medicare rules. Sheehy Dep. at 45:7-46:11 (Pls. Ex. 4). She

explained that there would be no need to distinguish between observation and inpatient status

without Medicare rules. Id. at 50:5-52:8, 160:22-161:12.

     17. Under the Two-Midnight Rule, the two midnights of hospital care must be medically

necessary. See Tr. of a KePRO 1:1 Provider Education Session at 16:12-14, 17-19 (Ex. 22 to

2018 56(a)2) (“Remember that the two midnight benchmark also includes a [sic] medical




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necessity. . . . just simply crossing two midnights does not necessarily make someone an

inpatient admission[.]”); Notes of a Livanta 1:1 Provider Education Session at 003784 (Ex. 37 to

2018 56(a)2) (“The physician cannot just say that they think the patient will stay for 2 midnights.

There needs to be documentation for medical necessity and why there is an anticipation that the

patient might stay 2 midnights for acute inpatient care”); Mercy Dep. at 19:8-15 (Pls. Ex. 1)

(“inpatient services are most recently defined by CMS’s two midnight rule which states that

inpatient services are reimbursable if it’s the physician’s expectation that the patient is going to

spend two or more midnights in the hospital and that the patient’s care meets medical necessity

for inpatient services”).

      18. Under 42 C.F.R. § 412.46(b), “[n]o presumptive weight shall be assigned to the

physician’s order . . . in determining the medical necessity of inpatient hospital services . . . .”

      19. Since the Two-Midnight Rule went into effect, CMS has authorized its contractors to

use commercial screening tools in determining the medical necessity component of inpatient

hospital claims at the initial review level. The Rule’s length-of-stay expectation (or one of its

exceptions) must also be met for the hospitalization to be considered appropriately inpatient. See

CMS’s “BFCC-NCC Questions and Answers Form” for short-stay reviews at HHS0018509-10

(Ex. 5 to 2018 56(a)2) (“The BFCC-QIO may use evidence-based screening criteria for the

medical necessity review of the selected claim. One example would be the use of InterQual©, a

nationally recognized commercial screening tool, to determine medical necessity. Should a

BFCC-QIO’s initial reviewer be unable to determine medical necessity through the use of this

tool, the claim and all associated medical records will send to a physician reviewer for his/her

clinical judgment about the need for the inpatient level of care under review. The Two Midnight




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Redetermination Short Stay Review criteria . . . will also be employed to determine whether or

not the hospital/facility applied the criteria appropriately).

      20. KePRO, one of the two current QIO contractors, incorporates commercial screening

tools in its reviews of inpatient hospital claims under the Two-Midnight Rule. KePRO uses a tool

as an initial screen for medical necessity: see e.g., KePRO Employee Reference Manual for

nurse reviewers at KEPRO0161 (“As a nurse reviewer you will be reviewing short stay medical

records for appropriateness of an inpatient admission using the two-midnight rule. You will be

making an objective decision on whether the inpatient hospital services were medically

necessary and meet the two-midnight benchmark”) (Ex. 28 to 2018 56(a)2); KEPRO Employee

Reference Manual at KEPRO 0177-78 (nurse reviewers will use InterQual “to screen for medical

necessity criteria”) (Ex. 28 to 2018 56(a)2); Appendix 005 to KePRO Employee Reference

Manual at KEPRO 0194 (Ex. 29 to 2018 56(a)2) (showing incorporation of InterQual into

CMS’s six-step algorithm for reviewing claims under the Two-Midnight Rule).

      21. Documents from Livanta, the other QIO contractor, show that it uses a screening tool

as one element in its short-stay review process under the Two-Midnight Rule. See Notes from

Livanta 1:1 Provider Education Session at 003784 (Ex. 37 to 2018 56(a)2) (Livanta

representatives explain that InterQual is “not the only benchmark” Livanta uses); Livanta notes

of 3/8/16 1:1 Provider Education Session at 004872 (Pls. Ex. 5) (Livanta representative

explained InterQual’s role in Livanta’s decision and how it should be used by the provider; “in

questionable cases, use of InterQual criteria can strengthen documentation.”).

      22. Hospitals also continue to incorporate screening tools into their utilization management

procedures in applying the Two-Midnight Rule. See Mercy Dep. at 68:10-72:16 (Ex. 45 to 2018

56(a)2); Mercy Dep. at 73:24-79:18 (Pls. Ex. 1) (discussing Mercy Hospital Utilization Flow




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Charts found in Ex. 46 to 2018 56(a)2 at 8-10); Holy Name Dep. at 23:7-16 (Ex. 42 to 2018

56(a)2); Backus Hospital Dep. (“Backus Dep.”) at 28:24-29:9 (Pls. Ex. 6).

     23. CMS introduced the Two-Midnight Rule in part to establish clarity and certainty

surrounding Medicare’s treatment of inpatient hospital claims. CMS has stated the Two-

Midnight Rule “maintain[s] the certainty that patient stays of 2 midnights or longer after

admission are generally appropriate for payment under Medicare Part A and will generally only

be selected for review in circumstances of fraud or gaming.” 80 Fed. Reg. 70298, 70542-43

(Nov. 13, 2015). CMS also stated that the “presumption” aspect of the Rule “maintains the

certainty that patient stays of 2 midnights or longer after admission are presumptively

appropriate as inpatient cases.” Id. at 70542. See also HHS Dep. (M. Hartstein) at 33:3-7 (Pls.

Ex. 2) (Two-Midnight Rule formulated to provide more definitive and clear guidance about

distinction between inpatient and outpatient services, and when to admit a patient as an

inpatient); KePRO Employee Reference Manual at KEPRO 0166 (Ex. 28 to 2018 56(a)2) (“If the

patient crosses two-midnights in an inpatient status, the case would automatically be approved

per CMS”) (emphasis added).

     24. CMS has mandated its QIOs conducting reviews of inpatient hospital claims to

approve cases that meet the Two-Midnight Rule’s general rule (expectation of at least two

midnights of hospital care) or one of its exceptions. In its guidance to contractors conducting

“short-stay” reviews of inpatient claims, CMS states that QIOs “will approve” cases that meet

either the Two-Midnight Rule’s general rule or one of its exceptions. See CMS, Reviewing Short

Stay Hospital Claims for Patient Status, Admissions On or After January 1, 2016 at

ALEX0000080-81 (Ex. 1 to 2018 56(a)2): “QIOs will approve these cases [expected stay of two

or more midnights] so long as other requirements are met” (emphasis added); “The QIOs will




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approve these cases [procedures on the Inpatient-Only List] so long as other requirements are

met”; “These cases [expected stay of less than two midnights on ‘case-by-case’ basis] will be

approved by the QIOs when the other requirements are met”. A previous version of the same

memorandum, covering admissions from 10/1/2013 to 12/31/2014, contained substantially

similar language: “CMS will direct Medicare review contractors to approve these cases

[expected stay of two or more midnights] so long as other requirements are met”; “CMS will

direct Medicare review contractors to approve these cases [procedures on the Inpatient-Only

List] so long as other requirements are met” (emphasis added). See Qualis Health Dep. (J.

Sparks), Ex. 1 at QUALIS000048 (Pls. Ex. 7).

     25. CMS also devised a 6-step algorithm that further explains how QIOs should review

inpatient hospital claims under the Two-Midnight Rule for short-stay reviews, and which does

not allow for claims meeting the Rule’s criteria to be denied. See Ex. 2 to 2018 56(a)2 at

HHS0012752). See also Ex. 8 to 2018 56(a)2 at HHS0018382 (Medical Officer Collaboration

Meeting Minutes, discussion of 6-step algorithm among CMS and QIO contractors, with CMS

representative advising QIOs to “stick with the algorithm and apply all the steps” in order to be

“defensible.”).

     26. In their internal employee materials, both QIO contractors reflect the CMS instruction

that claims meeting the Two-Midnight Rule’s criteria will be paid. See Pls. Ex. 32 to 2018 56(a)2

at 3 (Livanta presentation for its physician reviewers states: “Admissions will be paid if

admitting physician expects a two-midnight stay and this is supported by documentation in the

medical record”) (emphasis added); Pls. Ex. 29 to 2018 56(a)2 at KEPRO 0207 (Appendix to

KePRO Employee Reference Manual reprints CMS guidance for short-stay reviews, including

language regarding cases that meet Two-Midnight Rule criteria: “QIOs will approve”; “[t]hese




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cases will be approved by the QIOs”); KePRO Employee Reference Manual at KEPRO 0166

(Ex. 28 to 2018 56(a)2) (“If the patient crosses two-midnights in an inpatient status, the case

would automatically be approved per CMS”) (emphasis added).

      27. CMS directs hospitals to comply with the Two-Midnight Rule to receive

reimbursement from Medicare and as noted above (¶¶ 14-15), CMS has directed when

physicians “should admit” beneficiaries as inpatients under the Rule. Hospitals comply with

these directives because if they erroneously classify hospital stays as inpatient, under Medicare

rules and guidelines they are subject to denial of inpatient payment, and providers exhibiting

persistent non-compliance, including failing to adhere to the Rule or failing to improve their

performance after QIO educational intervention, may be subject to referral to Recovery Audit

Contractors (RACs). CMS Guidance for “Short-Stay Review” (Ex. 1 to 2018 56(a)2); Mercy

Dep. at 26:1-28:1 (Ex. 45 to 2018 56(a)2); Ex. 31 to 2018 56(a)2 (example of QIO denial letter);

Backus Dep. at 27:25-29:9 (Pls. Ex. 6) (doctors “think[] about . . . will this patient stay require

greater than two midnights or not. And based on that thinking, they will admit the patient as an

inpatient or place the patient on observation . . . .”); ¶ 16, supra; ¶ 28, infra.

      28. Hospitals are required by Medicare to implement a utilization review (UR) plan to

review the medical necessity of admissions and continued stays, and evidence indicates they

incorporate and apply the Two-Midnight Rule in these plans. 42 C.F.R. § 482.30; e.g., UR plan

of Abington Hospital (Pls. Ex. 8); Mercy Dep. at 63:20-68:9 (Ex. 45 to 2018 56(a)2) (discussing

Ex. 46 to 2018 56(a)2 (Two-Midnight Admission Review Workflow).


Dated: February 20, 2019                                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 20, 2019, a copy of the foregoing Local Rule 56(a)2

Statement in Response to Defendant’s Supplemental 56(a)1 Statement in Support of His Second

Motion for Summary Judgment was filed electronically and served by mail on anyone unable to

accept the electronic filing. Notice of this filing will be sent by e-mail to all parties by operation

of the Court’s electronic filing system or by mail as indicated on the Notice of Electronic Filing.

Parties may access this filing through the Court’s CM/ECF System.

                                                               /s/ Alice Bers
                                                               ALICE BERS
                                                               Center for Medicare Advocacy
